   Case: 4:10-cv-00310-RWS Doc. #: 1 Filed: 02/22/10 Page: 1 of 5 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

SCOTT AVERY,                                         )
                                                     )
                      Plaintiff,                     )
                                                     )
       v.                                            )
                                                     )
IAG, LLC                                             )
d/b/a INTERNATIONAL ASSET GROUP,                     )
                                                     )
                      Defendant.                     )

                                          COMPLAINT

       NOW COMES the Plaintiff, SCOTT AVERY, by and through his attorneys, LARRY P.

SMITH & ASSOCIATES, LTD., and for his complaint against the Defendant, IAG, LLC D/B/A

INTERNATIONAL ASSET GROUP, Plaintiff states as follows:


                               I.        PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter “FDCPA”), 15 U.S.C. §1692, et seq.


                                   II.    JURISDICTION & VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. §1692 et seq., and pursuant to 28

U.S.C. §1331 and 28 U.S.C. §1337.

       3.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b).


                                          III.   PARTIES

       4.      SCOTT AVERY, (hereinafter, “Plaintiff”) is an individual who was at all relevant

times residing in the City of Overland, County of St Louis, State of Missouri.



                                                 1
   Case: 4:10-cv-00310-RWS Doc. #: 1 Filed: 02/22/10 Page: 2 of 5 PageID #: 2




       5.      IAG,      LLC   D/B/A     INTERNATIONAL          ASSET      GROUP,      (hereinafter,

“Defendant”) is a business entity engaged in the collection of debt within the State of Missouri.

Defendant is registered as a limited liability company in the State of New York.

       6.      In its dealings with Plaintiff, Defendant held itself out as being a company

collecting a debt allegedly owed by Plaintiff.

       7.      At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

U.S.C. §1692a(3).

       8.      At all relevant times, Defendant acted as a debt collector as that term is defined by

15 U.S.C. §1692a(6).

                                       IV.       ALLEGATIONS

       9.      On or about January 12, 2010, Plaintiff received a telephone call from a duly

authorized representative of Defendant, who stated that he was calling to collect a debt allegedly

owed by Plaintiff.

       10.     The debt allegedly owed by Plaintiff was incurred primarily for personal, family,

or household services.

       11.     Defendant stated that if Plaintiff did not pay $422.06 within three (3) days or pay

$1,200 over four (4) months, Defendant would initiate a lawsuit against Plaintiff for the debt he

allegedly owes.

       12.     Plaintiff asked Defendant why the amount was so high if was to pay over four (4)

months.

       13.     Defendant responded that it was charging interest at 391%.

       14.     Upon information and belief, Defendant has not filed a lawsuit against Plaintiff

for the debt he allegedly owes.



                                                   2
   Case: 4:10-cv-00310-RWS Doc. #: 1 Filed: 02/22/10 Page: 3 of 5 PageID #: 3




           15.   Upon information and belief, at the time of making the aforementioned threat,

Defendant had no intention of filing a lawsuit against Plaintiff for the debt he allegedly owes.

           16.   Upon information and belief, Defendant has no authority to file a lawsuit against

Plaintiff for the debt he allegedly owes.

           17.   Upon information and belief, at the time of making the aforementioned threat,

Defendant had no authority to file a lawsuit against Plaintiff for the debt he allegedly owes.

           18.   During the course of its telephone calls with Plaintiff, Defendant failed to advise

Plaintiff that it was a debt collector, that it was attempting to collect a debt and that any

information obtained would be used for that purpose.

           19.   On or about January 12, 2010, despite being cognizant of Plaintiff’s location,

Defendant sent a correspondence to Plaintiff’s employer.

           20.   Plaintiff did not provide Defendant with consent to communicate with third-

parties.

           21.   In the aforesaid correspondence, Defendant identified itself by name despite

receiving no such request for said information.

           22.   Defendant has not provided to Plaintiff, within five (5) days of its initial

communication to collect the alleged debt, with written confirmation of the amount of the debt,

the name of the creditor to whom the debt is allegedly owed or a statement that unless the

consumer, within thirty days after receipt of the notice, disputes the validity of the debt, or any

portion thereof, the debt will be assumed to be valid by the debt collector.

           23.   In its attempts to collect the debt allegedly owed by Plaintiff, Defendant violated

the FDCPA, 15 U.S.C. §1692, in one or more of the following ways:

                 a. Communicated with any person other than the consumer for the purpose of
                    acquiring location information about the consumer and failed to identify

                                                  3
   Case: 4:10-cv-00310-RWS Doc. #: 1 Filed: 02/22/10 Page: 4 of 5 PageID #: 4




                  himself, failed to state that he is confirming or correcting location information
                  concerning the consumer, and/or identified his employer without the express
                  request of the consumer in violation of 15 U.S.C. §1692b(1);

              b. Communicated in connection with the collection of any debt with any person
                 other than the consumer, his attorney, a consumer reporting agency if
                 otherwise permitted by law, the creditor, the attorney of the creditor, or the
                 attorney of the debt collector in violation of 15 U.S.C. §1692c(b);

              c. Used false, deceptive, misleading and unfair or unconscionable means to
                 collect or attempt to collect an alleged debt in violation of 15 U.S.C. §1692e;

              d. Falsely represented the character, amount, or legal status of any debt in
                 violation of 15 U.S.C. §1692e(2)(A);

              e. Falsely represented that services had been rendered or compensation was due
                 and that such services and compensation may be lawfully received by a debt
                 collector for the collection of a debt in violation of 15 U.S.C. §1692e(2)(B);

              f. Threatened to take action that cannot legally or is not intended to be taken in
                 violation of 15 U.S.C. §1692e(5);

              g. Used any false representation or deceptive means to collect or attempt to
                 collect any debt or to obtain information concerning the consumer in violation
                 of 15 U.S.C. §1692e(10);

              h. Failed to disclose in communications that said communication was from a
                 debt collector and that any information obtained during the communication
                 will be used for the purpose of collecting a debt in violation of 15 U.S.C.
                 §1692e(11);

              i. Used unfair and/or unconscionable means to collect or attempt to collect a
                 debt in violation of 15 U.S.C. §1692f.

              j. Attempted the collection of funds from Plaintiff despite having no lawful
                 authority to do so in violation of 15 U.S.C. §1692f(1);

              k. Was otherwise deceptive and failed to comply with the provisions of the
                 FDCPA.

       24.    As a result of Defendant’s violations as aforesaid, Plaintiff has suffered, and

continues to suffer, personal humiliation, embarrassment, mental anguish and emotional distress.




                                                4
   Case: 4:10-cv-00310-RWS Doc. #: 1 Filed: 02/22/10 Page: 5 of 5 PageID #: 5




                                     V.      JURY DEMAND

       25.    Plaintiff hereby demands a trial by jury on all issues so triable.


                                  VI.     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, SCOTT AVERY, by and through his attorneys, respectfully

prays for judgment as follows:

              a.      All actual compensatory damages suffered;

              b.      Statutory damages of $1,000.00;

              c.      Plaintiff’s attorneys’ fees and costs;

              d.      Any other relief deemed appropriate by this Honorable Court.


                                                               Respectfully submitted,
                                                               SCOTT AVERY


                                                       By:      s/ Larry P. Smith
                                                                Attorney for Plaintiff

   Dated: February 15, 2010

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